\OOO-]O\U\-|>~L)Jl\)'-‘

l\.)I\.)[\.)I\J[\_)[\_)[\_)[\_)[\)\-)_\)_~\_~»_\>_»\_~a_\>_a>_~

Jeff K. Joyner (SBN CA 180485)
joyn_er{'@gdaw.com
Dame jukody (SBN CA 123323)
gal/cod CC]D§ tlaw.€c)m

REE§B G TRAURIG, _LLP
1840 Century Par_k Ea§t, Sulte 1900
Los Angeles, Cahfornla 90067-2121
Telephc_)ne: 310.536.7700
Facslmlle: 310.586.7800

Specia1Ap earance of _ _
Attorneys or Defendant Yuetmg 11a

VIZIO, INC., a California Corporation,
Plaintiff,
v.

L¢EC_O V. LTD., an <_exempted company
Wlth hmited liablhty mem Orated under
the laws of the Ca man ls ands; LeE_CO
GLOBAL GROU_ _LTD., a corporatlon
organlzed and exlstlpg unde;‘ the laws Of
the Peo l_e’S Re ubhc of_Chma; LELE
HOLD G, LT ., a Britlsh Virgm
ISlandS Personal Ho_lding_ Compan ;
YUETING JIA, an mdlvldual; an

DOES l through 10,

Defendants.

 

LeECO V. LTD.
COunter-Claimant,
VS.
VIZIO, a Caiifornia c01p01‘at1011,

COunter-Defendant.

 

 

.'_A 133545184\/1

 

 

base 8:17-cV-01175-DOC-.]DE Document 64 Filed 03/01/18 Page 1 of 3 Page |D #:1624

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

CASE NO. 8:17-CV~01175-DOC-JDE

DECLARATION ()F CHAOYING
DENG IN SUPPORT OF Y UETING
JIA’S AND LELE HOLDING LTD.’S
MOTIONS TO DISMISS THE FIRST
AMENDED COMPLAINT

[Filed concurrently with Non`ce OfMotiOn
and Mon'on to Dismz`SS,' Memorandnm of
Poz`nts and Aul‘horities,' and [Proposed]
Order]

Date: April 2, 2018
Time: 8:30 a.m.

Coul“troom: 9D

JUDGE: Hc)n. David O. Carter

CASE NO. S:l?-CV~01175-DOC-IDE

 

\DOO--JO\CJl-[LL»JE\)»_~

MN[\.)[\J[\_)[\J[\J[\J[\)»_->_l)_¢»-~>-*>-~>->_*»_l»_~
OO~JO\Lh-I>~LM[\J'_*O\DOO-~]O\M-[LUJI\)>_‘CD

A

 

 

`ase 8:17-cV-01175-DOC-.]DE Document 64 Filed 03/01/18 Page 2 of 3 Page |D #:1625

I, Chaoying Deng, hereby declare:
1. 1 make this Declaration in Support of Yueting Jia’s Motion to Dismiss the First
Amended Complaint for lnsufficient Service of Process and Lele Holding Ltd. ’s Motion
to Dismiss the First Amended Complaint for Insufficient Service of Process and Lack of
Personal Jurisdiction. l have personal knowledge of the facts stated herein and, if called
as a witness in this case, l could and would competently testify to these facts under oath.
2. l am a vice president at Faraday Future (“FF”). FF is an electric car company that
is completely independent from any of the other corporate defendants named in this
lawsuit
3. l work at FF’s office located at 18455 S. Figueroa Street, Gardena, Califomia (the
“Faraday Office”), where Vizio’s process servers tried to effectuate service on LeLe
Holding Ltd. (“LeLe”) and substitute service on l\/[r. Yueting Jia by serving me.
4. FF is not authorized to accept service on behalf of Mr. Jia. lt is not a designated
agent for service of process for l\/[r. Jia. Mr. J ia does not receive his personal mails attire
Faraday Office.
5. FF is not authorized to accept service on behalf of LeLe. lt is not a designated
agent for service of process, or a general or managing agent, or an officer or general
manager for LeLe. LeLe does not have an office or employees at the Faraday Office.
LeLe does not receive its mails at the Faraday Office.
6. None of Vizio’s process servers ever asked me if l was authorized to accept service
on l\/lr. Jia’S behalf l am not authorized by Mr. J ia to accept service on his behalf l am
not a designated agent for service of process for l\/lr. Jia either. None of the process
servers ever informed me about the content that they were trying to serve on l\/Ir. Jia.
7. None of Vizio’s process servers ever asked me if l was authorized to accept service
on LeLe’s behalf One of Vizio’s process servers asked me if l could leave my FF office
and accept service on behalf of LeLe, and l told him that l would not (because l do not
have authority to accept service on LeLe’s behalf). l am not a designated agent for service

of pr'ocess, general or managing agent, or officer or general manager for LeLe. None of

1 CASE NO. 8:17-CV-0117`5-DOC-]DE

 

Deng’s Declaration ISO Jia’s and LeLe’s l\/lotions To Disnriss
U-\ 133545184\/1

 

O\DOO`-JO\Lh-l>~k)~ll\)>_‘

[\JNE\JNN[\JN[\)N’_‘>_‘F_*>_*>-‘r-‘>_~>_->-“>_
OO`~_]O\¢J`l-P~LJJN’_‘O\DOO`~JO\U`|-LL)J[\)*_‘

)ase 8:17-cV-01175-DOC-.]DE Document 64 Filed 03/01/18 Page 3 of 3 Page |D #:1626

the process servers ever informed me about the content that they were trying to serve
LeLe.
8. I reside at 7 Marguerite Drive, Rancho Palos Verdes, California. Mr. J ia does not
reside or receive his mails at this address LeLe does not conduct business or receive mails
at this address either.

l declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct and that this declaration was executed in Gardena,

California, on lst day of l\/Iarch, 2018.

 

 

f "Chaoying Deng

2 CASE NO. 8:17`-CV-01175-DOC-JDE
Deng’s Declaration ISO Jia’s and LeLe’s l\/Iotions To Dismiss

 

 

.'_A 1335451'84\/1

 

